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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Asli Baz
                               Plaintiff,
v.                                                   Case No.: 1:23−cv−05017
                                                     Honorable Jorge L. Alonso
Anthony Patterson
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, November 1, 2023:


        MINUTE entry before the Honorable Jorge L. Alonso: Final pretrial conference
held and continued to 11/14/23 at 11:00 a.m. This hearing will be held in person. In
accordance with Local Rule 16.1(6) and the Court's case procedures, the parties are to
confer, with Petitioner to submit a joint final pretrial order and trial binders (including
motions in limine) for both parties by 11/8/23. The parties' deadline to file responses to
motions in limine and to update the Court regarding the status of settlement discussions is
11/13/23. Respondent's motion for attorney representation [53] is denied as moot in light
of Respondent's superseding motion [63] and the Court's ruling [68]. Notice mailed by
Judge's staff (lf, )




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